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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA                             JUL I 6 2007
                                    RICHMOND DIVISION                                  —           —     j
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                          RICHMOND VA


UNITED STATES OF AMERICA


v.                                                         CASE NO. 3:07CR138


SHARON ROUSEY,


                       Defendant




                                             ORDER


         This matter is before the court for consideration of a report and recommendation by the


Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty


to specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding


conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing


that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant


was given notice of the right to file specific objections to the report and recommendation that has


been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby


         ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED


and the Defendant is found guilty of Count One of the Indictment.




                                                  James R. Spencer
                                                  Chief United States District Judge
Dated:           tf,
